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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

      Plaintiff,
                                               No. 1:18-cv-124
v
                                               HON. GORDON J. QUIST
THE CITY OF NORTON SHORES, MAYOR
GARY NELUND, individually and in his
official capacity,
POLICE CHIEF DANIEL SHAW, individually
and in his official capacity,
SERGEANT MATTHEW RHYNDRESS,
individually and in his official capacity,
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity,
MARK MEYERS, individually and as city
manager,

F/LT. CHRIS MCINTIRE, Michigan State
Police only in his individual capacity;

ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law
firm,
WILLIAM HUGHES, PLLC, a Michigan law
firm,

ATTORNEY MELISSA MEYERS, individually
and acting on behalf of her law firm,
ATTORNEY MICHELLE MCLEAN,
individually and acting on behalf of her law
firm,
ATTORNEY JOEL BAAR, individually and
acting on behalf of his law firm,
BOLHOUSE, BAAR & HOFSTEE PC, a
Michigan law firm,

      Defendants.
_____________________________________________________________________________
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 Attorneys for Defendant McIntire           Attorney for Defendants City of Norton
 Michigan Department of Attorney            Shores, Gary Nelund, Daniel Shaw,
 General                                    Matthew Rhyndress, Michael Wassilewski,
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_____________________________________________________________________________


           DEFENDANT CHRIS MCINTIRE’S MOTION TO DISMISS

      NOW COMES Defendant Lieutenant Chris McIntire, and for his motion to

dismiss under Fed. R. Civ. P. 12(b)(1) and (6) states as follows:

      1.     Plaintiff’s claims of federal and state law violations allegedly stem

from a protracted child custody battle, which apparently had proceeded over the

course of some years. Plaintiff has sued a variety of defendants. Defendant

Lieutenant McIntire is a Michigan State Police First Lieutenant, who had no role

relative to the custody battle.

      2.     Plaintiff’s complaint fails to state a claim upon which relief may be

granted and should be dismissed:



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             a.     Plaintiff fails to state specific acts of Defendant Lieutenant

McIntire that could support liability under 42 U.S.C. §1983.

             b.     Plaintiff’s Counts 1-4 fail to state a conspiracy claim.

             c.     Plaintiff’s state-law claims fail to state a claim for which relief

can be granted.

      3.     This Court lacks jurisdiction over portions, if not all, of Plaintiff’s

claims, as the claims are time-barred by the applicable statutes of limitations.

      4.     Plaintiff’s respective claims are barred by federal and state-law

immunity.

      5.     All claims against Defendant Lieutenant McIntire should be dismissed

with prejudice.

      6.     Consistent with W.D. Mich. L.Civ.R. 7.1(d), undersigned counsel

sought the concurrence of Plaintiff by email on April 10, 2018, but concurrence was

not given.


                                         Respectfully submitted,

                                         Bill Schuette
                                         Attorney General

                                         /s/ Sarah R. Robbins
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Dated: April 13, 2018


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